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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                             )
ANTHONY PERRY,                               )
                                             )
              Plaintiff,                     )
                                             )
       v.                                    )       Civil Action No. 17-cv-1932 (TSC)
                                             )
                                             )
WILBUR ROSS                                  )
United States Secretary of Commerce,         )
                                             )
              Defendant.                     )
                                             )

                                            ORDER

       It is hereby ordered that the parties shall appear for a Status and Scheduling

Conference on October 13, 2017 at 11:15 a.m. in Courtroom 2. By October 10, 2017,

the parties shall file a Joint Status Report and proposed schedule for moving forward

with this case. The report shall include a proposed order. The parties shall refrain from

proposing a schedule that contains submission of simultaneous dispositive cross-motions.

       The Clerk of the Court shall mail a copy of this order to:

                      ANTHONY PERRY
                      5907 Croom Station Road
                      Upper Marlboro, MD 207722

                      Stephen William Fung
                      Merit Systems Protection Board
                      Office of the General Counsel
                      1615 M Street, N.W.
                      Washington, D.C. 20419-0002


Date: September 22, 2017
                                             Tanya S. Chutkan
                                             TANYA S. CHUTKAN
                                             United States District Judge
